                                                                                                                             Case: 1:24-cv-01027-JPC Doc #: 106-4 Filed: 04/04/25 1 of 40. PageID #: 3662


Gillespie, Ryan

From:                                                                                                                                                                                                                                                                                            Sean L Harrington <sean@seanharringtonlaw.com>
Sent:                                                                                                                                                                                                                                                                                            Saturday, March 15, 2025 9:42 AM
To:                                                                                                                                                                                                                                                                                              jbruckman@freeborn.com; Dunlap, Jeffrey; lflagg@beneschlaw.com; Gillespie, Ryan;
                                                                                                                                                                                                                                                                                                 rhepp@beneschlaw.com; jkoechley@sgrlaw.com; Linehan, Matthew;
                                                                                                                                                                                                                                                                                                 spearson@sgrlaw.com; Pollack, Larry; Saltz, Ashtyn; rzimmerman@beneschlaw.com
Subject:                                                                                                                                                                                                                                                                                         Re: CBIZ, Inc. et al. v. Cryan et al.
Attachments:                                                                                                                                                                                                                                                                                     2025-03-12_memo-toCourt.pdf; 155.pdf


Last week, I prov ided inform ation abou t a false declaration filed in this case that triggers an affirmative duty to notify the Court of perjured testimony . Earlier this week, cou nsel of record in a Federal case in New Jersey asked the magistrate j udge to refer the expert fraud, M




CGBANNE RINDICATO R




Last week, I provided information about a false declaration filed in this case that triggers an affirmative duty to
notify the Court of perjured testimony.

Earlier this week, counsel of record in a Federal case in New Jersey asked the magistrate judge to refer the
expert fraud, Mark Lanterman, to the U.S. Attorney’s office on the basis of an identical declration. See filing
attached hereto.

And yesterday, Perkins Coie filed a bombshell about Lanterman’s false declarations in that pending Federal
case in the Northern District of Florida, also attached hereto.


Sent from my iPad -- please pardon my typos

Sean L. Harrington, J.D.
CIPP/US, MCSE, CSOXP, CISSP, CHFI, CCFP

Sean Harrington Law Office
Bar Admissions: Wisconsin, California
direct: 508.361.2018
http://seanHarringtonLaw.com
Volunteer Investigator, 4th Judicial District Ethics Committee (Minnesota Office of Lawyers Prof’l
Responsibility)
Special Investigator, Special Investigative Panel, Wisconsin Office of Lawyer Regulation
http://linkedin.com/in/sean-l-harrington-6b20958




                                                                                        On Mar 9, 2025, at 10:37 AM, Sean L Harrington <sean@seanharringtonlaw.com> wrote:




                                                                                                                                                                                                                                                                                                                          1
   Case: 1:24-cv-01027-JPC Doc #: 106-4 Filed: 04/04/25 2 of 40. PageID #: 3663

Dear Counselors:

In the above-captioned cause, Mark Lanterman falsely testified, among other things, “I
graduated from Upsala College with both a Bachelor of Science and a Master’s degree in
computer science. I completed my post graduate work in cybersecurity at Harvard University.”
Document 18-2.

These statements are false, and it appears that Plaintiff’s counsel didn’t perform sufficient due
diligence. Mr. Lanterman did not complete any “Postgraduate work in cybersecurity at Harvard
University,” and my investigation has revealed that he did not earn the
degrees. See https://seanharringtonlaw.com/wp-content/uploads/2025/03/2025-
03_deepfakeexperts_.pdf

Another computer forensics fraud was convicted of and sentenced to 21 months under 18 U.S.C.
§ 1621(2) (perjury) for identical conduct —but on a much smaller scale than Lanterman. See
United States v. James Earl Edmiston, No. 06-cr-0035, U.S. Court for the Eastern District of
California.

You have an affirmative obligation to call this to the attention of Judge Calabrese. I also
respectfully exhort you to refer this matter to the U.S. Attorney’s office for investigation.

Sean L. Harrington, J.D.
CIPP/US, MCSE, CSOXP, CISSP, CHFI, CCFP

Sean Harrington Law Office
Bar Admissions: Wisconsin, California
direct: 508.361.2018
http://seanHarringtonLaw.com




                                                  2
Case
   Case:
     2:18-cv-06296-JKS-CLW
         1:24-cv-01027-JPC DocDocument
                               #: 106-4 Filed:
                                        295 04/04/25
                                               Filed 03/12/25
                                                         3 of 40. Page
                                                                   PageID
                                                                       1 of#:4 3664
                                                                               PageID:
                                      3318
Case
   Case:
     2:18-cv-06296-JKS-CLW
         1:24-cv-01027-JPC DocDocument
                               #: 106-4 Filed:
                                        295 04/04/25
                                               Filed 03/12/25
                                                         4 of 40. Page
                                                                   PageID
                                                                       2 of#:4 3665
                                                                               PageID:
                                      3319
Case
   Case:
     2:18-cv-06296-JKS-CLW
         1:24-cv-01027-JPC DocDocument
                               #: 106-4 Filed:
                                        295 04/04/25
                                               Filed 03/12/25
                                                         5 of 40. Page
                                                                   PageID
                                                                       3 of#:4 3666
                                                                               PageID:
                                      3320
Case
   Case:
     2:18-cv-06296-JKS-CLW
         1:24-cv-01027-JPC DocDocument
                               #: 106-4 Filed:
                                        295 04/04/25
                                               Filed 03/12/25
                                                         6 of 40. Page
                                                                   PageID
                                                                       4 of#:4 3667
                                                                               PageID:
                                      3321
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        7 of 40. PageID
                                                                   Page#:
                                                                        1 3668
                                                                          of 34




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION
ALLIANCE LAUNDRY SYSTEMS LLC,

             Plaintiff,
                                                   Case No. 23-cv-22130 (MCR)
      v.

TRUDY ADAMS, JOHN “CLAY” WILLIAMS
and AUTARKIC HOLDINGS, INC. D/B/A
LAUNDRYLUX,

             Defendants.


TRUDY ADAMS, JOHN “CLAY” WILLIAMS,

             Defendants/Counterclaim Plaintiffs,

      v.

ALLIANCE LAUNDRY SYSTEMS LLC,

             Plaintiff/Counterclaim Defendant/
             Third Party Defendant.


  DEFENDANTS’ MOTION TO STRIKE EXPERT DECLARATION OF
  MARK LANTERMAN AND EXCLUDE LANTERMAN’S TESTIMONY

     Pursuant to Federal Rule of Civil Procedure 26 and Federal Rule of Evidence

702 Defendants Trudy Adams, John “Clay” Williams, and Autarkic Holdings, Inc.

d/b/a Laundrylux move for an order striking the Expert Declaration of Mark

Lanterman and excluding the testimony of Mr. Lanterman in this matter.

Defendants’ Motion is based on the Memorandum of Law attached hereto.
 Case:
 Case 3:23-cv-22130-MCR-ZCB
       1:24-cv-01027-JPC Doc #: 106-4
                                Document
                                      Filed:
                                          15504/04/25
                                                 Filed 03/14/25
                                                       8 of 40. PageID
                                                                  Page#:
                                                                       2 3669
                                                                         of 34




Dated: March 14, 2025                  /s/ David A. Perez
                                      David A. Perez (admitted pro hac vice)
                                      Evelyn Y. Pang (admitted pro hac vice)
                                      Shireen Lankarani (admitted pro hac vice)
                                      DPerez@perkinscoie.com
                                      EPang@perkinscoie.com
                                      SLankarani@perkinscoie.com
                                      PERKINS COIE LLP
                                      1201 Third Avenue, Suite 4900
                                      Seattle, Washington 98101-3099
                                      Telephone: +1.206.359.8000
                                      Facsimile: +1.206.359.9000

                                      /s/ Beth-Ann E. Krimsky
                                      Beth-Ann E. Krimsky
                                      Florida Bar No. 968412
                                      GREENSPOON MARDER LLP
                                      200 East Broward Blvd., Suite 1800
                                      Fort Lauderdale, Florida 33301
                                      Tel: (954) 527-2427
                                      Fax: (954) 333-4027

                                      Attorneys for Defendant Autarkic
                                      Holdings, Inc. d/b/a Laundrylux


                                      /s/ Jura C. Zibas
                                      Jura C. Zibas
                                      WILSON ELSER MOSKOWITZ
                                      EDELMAN & DICKER LLP
                                      2063 Main Street, Suite 100
                                      Sarasota, FL 34237
                                      Telephone: (941.866.8561
                                      Facsimile: 941.210.5979
                                      Email: jura.zibas@wilsonelser.com

                                      Attorneys for Trudy Adams and John
                                      “Clay” Williams


                                      ii
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        9 of 40. PageID
                                                                   Page#:
                                                                        3 3670
                                                                          of 34




                         CERTIFICATE OF SERVICE

      I hereby certify that Defendants’ Motion for Judgment on the Pleadings and

Memorandum of Law in Support of Defendants’ Motion for Judgment on the

Pleadings were served on all counsel of record via ECF filing on March 14, 2025.



 Dated: March 14, 2025                   /s/ David A. Perez
                                         David A. Perez (admitted pro hac vice)
                                         DPerez@perkinscoie.com
                                         PERKINS COIE LLP
                                         1201 Third Avenue, Suite 4900
                                         Seattle, Washington 98101-3099
                                         Telephone: +1.206.359.8000
                                         Facsimile: +1.206.359.9000

                                         Attorneys for Defendant Autarkic
                                         Holdings, Inc. d/b/a Laundrylux




                                       iii
Case:
Case 1:24-cv-01027-JPC
      3:23-cv-22130-MCR-ZCB
                       Doc #: 106-4
                               Document
                                    Filed:155
                                            04/04/25
                                                Filed 10
                                                      03/14/25
                                                         of 40. PageID
                                                                  Page 4
                                                                       #:of
                                                                         3671
                                                                            34




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION
ALLIANCE LAUNDRY SYSTEMS LLC,

           Plaintiff,
                                                 Case No. 23-cv-22130 (MCR)
     v.

TRUDY ADAMS, JOHN “CLAY” WILLIAMS
and AUTARKIC HOLDINGS, INC. D/B/A
LAUNDRYLUX,

           Defendants.


TRUDY ADAMS, JOHN “CLAY” WILLIAMS,

           Defendants/Counterclaim Plaintiffs,

     v.

ALLIANCE LAUNDRY SYSTEMS LLC,

           Plaintiff/Counterclaim Defendant/
           Third Party Defendant.


        MEMORANDUM OF LAW IN SUPPORT OF
DEFENDANTS’ MOTION TO STRIKE EXPERT DECLARATION OF
MARK LANTERMAN AND EXCLUDE LANTERMAN’S TESTIMONY




                                      iv
  Case:
  Case 1:24-cv-01027-JPC
        3:23-cv-22130-MCR-ZCB
                         Doc #: 106-4
                                 Document
                                      Filed:155
                                              04/04/25
                                                  Filed 11
                                                        03/14/25
                                                           of 40. PageID
                                                                    Page 5
                                                                         #:of
                                                                           3672
                                                                              34




                                        TABLE OF CONTENTS

INTRODUCTION ...................................................................................................1

BACKGROUND .....................................................................................................2

LEGAL STANDARD ..............................................................................................4

ARGUMENT ...........................................................................................................4

         I.       Lanterman’s Opinions Must Be Excluded Because They
                  Consist Only of Conclusions and Are Not Based on Discernable
                  Methodology. ......................................................................................4

         II.      Lanterman Appears to Have Falsified His Qualifications,
                  Repeatedly Perjured Himself in His Deposition, and Spoliated
                  Evidence About His Background. .....................................................13

                  A.       Lanterman Admits He Has No Evidence that He
                           Attended Upsala College. .......................................................14

                  B.       Overwhelming Evidence Demonstrates Lanterman Did
                           Not Attend or Graduate from Upsala College. .......................15

                  C.       Lanterman Appears to Have Repeatedly Perjured
                           Himself, Lying Under Oath About Graduating from
                           Upsala College. .......................................................................17

                  D.       Lanterman Appears to Be Spoliating Evidence of His
                           Background. ............................................................................20

                  E.       Lanterman Should Be Excluded for Perjury, Spoliation,
                           and Obstructive Conduct.........................................................22

CONCLUSION ......................................................................................................25




                                                          v
  Case:
  Case 1:24-cv-01027-JPC
        3:23-cv-22130-MCR-ZCB
                         Doc #: 106-4
                                 Document
                                      Filed:155
                                              04/04/25
                                                  Filed 12
                                                        03/14/25
                                                           of 40. PageID
                                                                    Page 6
                                                                         #:of
                                                                           3673
                                                                              34




                                  TABLE OF AUTHORITIES
                                                                                                                  Page(s)
CASES

Allapattah Servs., Inc. v. Exxon Corp.,
   61 F. Supp. 2d 1335 (S.D. Fla. 1999) ............................................................... 5, 8

AZ55S, LLC v. Flinsco.com, LLC,
  No. 22-CV-61658, 2023 WL 4564631 (S.D. Fla. June 30, 2023),
  report and recommendation adopted, No. 22-61658-CV, 2023 WL
  4561628 (S.D. Fla. July 17, 2023) ...................................................................... 24

Chambers v. NASCO, Inc.,
  501 U.S. 32 (1991) .............................................................................................. 22

Chapman v. Procter & Gamble Distrib., LLC,
  766 F.3d 1296 (11th Cir. 2014) ............................................................................ 5

City of Tuscaloosa v. Harcros Chems., Inc.,
   158 F.3d 548 (11th Cir. 1998) ........................................................................4, 23

Daubert v. Merrell Dow Pharm., Inc.,
  509 U.S. 579 (1993) ..............................................................................4, 5, 10, 11

Eastman Kodak Co. v. Agfa-Gevaert N.V.,
  2003 WL 23101783 (W.D.N.Y. Dec. 4, 2003) .................................................. 22

FedEx Ground Package Sys., Inc. v. Applications Int’l Corp.,
  695 F. Supp. 2d 216 (W.D. Pa. 2010)...........................................................11, 12

Hughes v. Kia Motors Corp.,
  766 F.3d 1317 (11th Cir. 2014) .......................................................................... 11

Kilpatrick v. Breg, Inc.,
   613 F.3d 1329 (11th Cir. 2010) ............................................................................ 4

Kraft Reinsurance Ireland, Ltd. v. Pallets Acquisitions, LLC,
  843 F. Supp. 2d 1318 (N.D. Ga. 2011) ............................................................... 23

Lanterman v. Afremov,
  No. 27-CV-12-22089, 2014 WL 3579827 (Minn. Dist. Ct. July 17,
  2014) ................................................................................................................... 19

                                                             vi
  Case:
  Case 1:24-cv-01027-JPC
        3:23-cv-22130-MCR-ZCB
                         Doc #: 106-4
                                 Document
                                      Filed:155
                                              04/04/25
                                                  Filed 13
                                                        03/14/25
                                                           of 40. PageID
                                                                    Page 7
                                                                         #:of
                                                                           3674
                                                                              34




Lanterman v. Afremov,
  No. A15-0729, 2016 WL 1551602 (Minn. Ct. App. Apr. 18, 2016) ................. 19

Leticia Zuniga v. SMS Holdings,
   No. 9-cv-02120-ADM-JSM, Dkt. 175 (D. Minn. Aug. 24, 2010) ..................... 13

McDowell v. Brown,
  392 F.3d 1283 (11th Cir. 2004) ............................................................................ 4

MidAmerica C2L Inc. v. Siemens Energy Inc.,
  No. 20-11266, 2023 WL 2733512 (11th Cir. Mar. 31, 2023) ............................ 10

Nat’l Grange Mut. Ins. Co. v. Hearth & Home, Inc.,
  2006 WL 5157694 (N.D. Ga. Dec. 19, 2006) .................................................... 23

Oil Equip. Co. Inc. v. Mod. Welding Co. Inc.,
   661 F. App’x 646 (11th Cir. 2016) ..................................................................... 23

Qantum Commun. Corp. v. Star Broad., Inc.,
  473 F. Supp. 2d 1249 (S.D. Fla. 2007) .........................................................22, 23

Space Sys./Loral v. Martin Marietta Corp.,
   1995 WL 686369 (N.D. Cal. Nov. 15, 1995) ..................................................... 22

Troudt v. Oracle Corp.,
   369 F. Supp. 3d 1134 (D. Colo. 2019)................................................................ 12

United States v. Dunnigan,
  507 U.S. 87 (1993) .............................................................................................. 18

United States v. Frazier,
  387 F.3d 1244 (11th Cir. 2004) .......................................................................... 11

United States v. Gardner,
  2012 WL 6680395 (D. Utah Dec. 21, 2012) ...................................................... 12

Watson v. Edelen,
  76 F. Supp. 3d 1332 (N.D. Fla. 2015) ................................................................ 21

RULES

Fed. R. Civ. P. 702 .........................................................................................4, 10, 24



                                                         vii
  Case:
  Case 1:24-cv-01027-JPC
        3:23-cv-22130-MCR-ZCB
                         Doc #: 106-4
                                 Document
                                      Filed:155
                                              04/04/25
                                                  Filed 14
                                                        03/14/25
                                                           of 40. PageID
                                                                    Page 8
                                                                         #:of
                                                                           3675
                                                                              34




                                 INTRODUCTION

      The touchstone of admissible expert testimony is reliability: Reliable

qualifications and reliable methods employed in a reliable manner. That is a problem

for Alliance, because its purported expert computer forensic examiner Mark

Lanterman is not reliable.

      First, Lanterman has not disclosed any reliable methods employed in arriving

at his opinions—or any methods at all, for that matter. Instead, he simply offers

vague, general descriptions of some forms of data he supposedly reviewed, without

explaining how he found, accessed, or performed any analysis of the data. Then he

gives his final conclusions about emailing and file-copying activity that supposedly

occurred on Defendants Adams’s and Williams’s Alliance laptops. Lanterman’s

failure to describe his methods was no innocent mistake or oversight; at his

deposition, he expressly refused to answer questions about his methodology, which

he considers proprietary, stating: “

                                   .”

      Second, Lanterman appears to have falsified his college attendance and

degrees, then committed perjury in sticking to his lie. Lanterman claims to have

attended the now-closed Upsala College, but transcript records, commencement

programs, and yearbooks reflect that he did not. Yet Lanterman repeatedly insisted

under oath that                          , while at the same time refusing to answer



                                        -1-
    Case:
    Case 1:24-cv-01027-JPC
          3:23-cv-22130-MCR-ZCB
                           Doc #: 106-4
                                   Document
                                        Filed:155
                                                04/04/25
                                                    Filed 15
                                                          03/14/25
                                                             of 40. PageID
                                                                      Page 9
                                                                           #:of
                                                                             3676
                                                                                34




questions about biographical information that might corroborate his claimed

attendance at the school. Most shockingly, in the immediate aftermath of his

deposition, Lanterman apparently traveled from his home in Minnesota to suburban

Philadelphia to seize decades-old public records of his prior employment as a police

officer, obstructing efforts to investigate his murky past.

        For these reasons, and the additional reasons described below, the Court

should issue an order striking Lanterman’s expert report and excluding him from

testifying and offering any opinions in this matter, including in connection with

summary judgment briefing. Although for the reasons explained in Laundrylux’s

Summary Judgment motion (filed concurrently herewith), Alliance cannot prevail

on liability or damages in any event, its case is further doomed because it should not

be permitted to rely on Lanterman’s opinions in arguing a summary judgment

motion of its own, or in opposing Laundrylux’s motion.

                                  BACKGROUND

        On June 21, 2024, Plaintiff Alliance disclosed the Expert Declaration of Mark

Lanterman. See Ex. 1.1 Lanterman claims to be an expert computer forensic

investigator, and his declaration purported to offer opinions about email and file-



1
 All “Ex.” citations herein refer to the Exhibits to the Declaration of David
Watnick in Support of Defendants’ Motion to Strike Expert Declaration of Mark
Lanterman and Exclude Lanterman’s Testimony (“Watnick Decl.”) filed
concurrently herewith.

                                          -2-
    Case:
    Case 3:23-cv-22130-MCR-ZCB
          1:24-cv-01027-JPC Doc #: 106-4
                                   Document
                                         Filed:
                                             15504/04/25
                                                    Filed 03/14/25
                                                          16 of 40. PageID
                                                                     Page 10
                                                                           #: 3677
                                                                              of 34




copying activity on the Alliance laptops assigned to Defendants Trudy Adams and

Clay Williams in the weeks and months before they department Alliance and began

working for Defendant Laundrylux. See id. ¶¶ 1–2. According to Lanterman, several

emails had been sent from Adams’s and Williams’s Alliance email accounts to

personal email accounts, and copies in a personal folder on Williams’s laptop had

likely been copied onto a USB drive. See id. ¶¶ 22–24.

        On January 10, 2025, after Williams located a USB drive requested in

discovery by Alliance, and produced a forensic image of that drive, Alliance

disclosed the Amended Expert Declaration of Mark Lanterman. See Ex. 2. The

Amended Declaration (hereafter simply the “declaration” or “Lanterman Decl.”)

largely replicates Lanterman’s original report, but adds a few paragraphs ostensibly

based on Lanterman’s examination of that USB image, including that it was the same

USB that had been attached to Williams’s laptop, and that the “vast majority” of

files on the USB match the files in the personal folder on Williams’s Alliance laptop.

Lanterman Decl. ¶¶ 52–57.2

        On February 11, 2025, counsel for Laundrylux took Lanterman’s deposition,

under oath, by Zoom. See Ex. 3.




2
 All citations to the “Lanterman Decl.” herein refer to the January 10, 2025,
Amended Declaration.

                                          -3-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        17 of 40. PageID
                                                                   Page 11
                                                                         #: 3678
                                                                            of 34




                               LEGAL STANDARD

      This Court serves as a gatekeeper to permit only reliable expert testimony and

to screen out “speculative [and] unreliable expert testimony.” Kilpatrick v. Breg,

Inc., 613 F.3d 1329, 1335 (11th Cir. 2010) (citing Daubert v. Merrell Dow Pharms.,

Inc., 509 U.S. 579, 597 (1993)). Before permitting an expert to testify in a matter,

this Court must apply Federal Rule of Civil Procedure 702 and determine by a

preponderance of the evidence that:

      (1) the expert is qualified to testify competently regarding the matters he
          intends to address;

      (2) the methodology by which the expert reaches his conclusions is
          sufficiently reliable as determined by the sort of inquiry mandated in
          Daubert; and

      (3) the testimony assists the trier of fact, through the application of scientific,
          technical, or specialized expertise, to understand the evidence or to
          determine a fact in issue.

City of Tuscaloosa v. Harcros Chems., Inc., 158 F.3d 548, 562 (11th Cir. 1998); see

also Fed. R. Civ. P. 702.

                                    ARGUMENT

 I.   Lanterman’s Opinions Must Be Excluded Because They Consist Only of
      Conclusions and Are Not Based on Discernable Methodology.

      In exercising its gatekeeping function with respect to expert testimony, “a

court should meticulously focus on the expert’s principles and methodology, and not

on the conclusions that they generate.” McDowell v. Brown, 392 F.3d 1283, 1298

(11th Cir. 2004). “As gatekeeper for the expert evidence presented to the jury, the

                                          -4-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        18 of 40. PageID
                                                                   Page 12
                                                                         #: 3679
                                                                            of 34




judge must do a preliminary assessment of whether the reasoning or methodology

underlying the testimony is scientifically valid.” Chapman v. Procter & Gamble

Distrib., LLC, 766 F.3d 1296, 1306 (11th Cir. 2014) (citation and internal quotation

marks omitted). And in determining whether an expert witness appropriately

employed a reliable methodology, Daubert instructs a court to consider a variety of

factors, including:

           “whether the theory or technique at issue can be (and has been) tested”;

           “whether it has been subjected to peer review and publication”;

           “the known or potential rate of error of the technique, as well as the
            “existence and maintenance of standards controlling its operation”; and

           “the degree to which the relevant scientific community accepts the
            theory or technique as reliable.”

Allapattah Servs., Inc. v. Exxon Corp., 61 F. Supp. 2d 1335, 1338 (S.D. Fla. 1999)

(cleaned up) (quoting Daubert, 509 U.S. 593–94) (subsequent history omitted).

Lanterman’s opinion flunks this basic test, because he has refused to describe any

methodological process that can even be assessed under this rubric.

      At its core, Lanterman’s declaration consists of six opinions, supposedly

based on his “analysis” of Ms. Adams’s and Mr. Williams’s laptop computers and

an image of Mr. Williams’ USB drive. Yet Lanterman does not disclose any

methodology—let alone any reliable, accepted methodology—that he employed in

reaching these conclusions. To the contrary, each of Lanterman’s opinions is a bare


                                        -5-
 Case:
 Case 3:23-cv-22130-MCR-ZCB
       1:24-cv-01027-JPC Doc #: 106-4
                                Document
                                      Filed:
                                          15504/04/25
                                                 Filed 03/14/25
                                                       19 of 40. PageID
                                                                  Page 13
                                                                        #: 3680
                                                                           of 34




conclusion supported (if at all) only by Lanterman’s say-so about information he

supposedly analyzed, with no explanation of how such analysis was performed, i.e.,

what computer forensics methodology, if any, Lanterman actually employed.

      Specifically, Lanterman opines:

   1. That Ms. Adams sent several emails from her Alliance email account to the
      address trudy [at] blueeggconsult [dot] com between January 5 and May 19,
      2023. Lanterman Decl. ¶ 31.

          This finding is purportedly “[b]ased on the content” of an “email
           container file[]” Lanterman “identified [as] associated with data from
           Adams’ Alliance email accounts.” Id. Lanterman does not say how or
           where he found this container file, or how he associated it with Adams’s
           email accounts. Id. ¶¶ 29–31. Nor does he offer any description of its
           purported “content,” or how such content allowed him to draw any
           conclusions about activity on Adams’s email accounts. Id.

          Lanterman’s report provides no basis, whatsoever, for his assertion that
           Ms. Adams herself was responsible for any of this activity. Id.

   2. That 18 of these emails were deleted from Adams’s Alliance email account
      but purportedly recovered by Lanterman and provided to Alliance’s counsel.
      Id. ¶ 32.

          Lanterman’s declaration provides no information on how he identified
           these emails, how he determined they had been deleted, or how he
           recovered them. Id. ¶¶ 32–35.

   3. That on May 18, 2023, Defendant Adams attached a USB drive to her laptop.
      Id. ¶ 39.

          Lanterman asserts that the “Windows operating system records” when
           a device is attached, the model of the device, and the serial number of
           the device. Id. ¶¶ 38–39. Yet he provides no description of how he
           found this data, accessed it, and interpreted it to arrive at his conclusion.
           Id.




                                          -6-
Case:
Case 3:23-cv-22130-MCR-ZCB
      1:24-cv-01027-JPC Doc #: 106-4
                               Document
                                     Filed:
                                         15504/04/25
                                                Filed 03/14/25
                                                      20 of 40. PageID
                                                                 Page 14
                                                                       #: 3681
                                                                          of 34




 4. That eight emails were sent from Mr. Williams’s Alliance email account to
    the address jclaywilliams1 [at] gmail [dot] com between June 28 and July 13,
    2023. Id. ¶¶ 41–43.

        Lanterman gives no description of how he arrived at this conclusion
         other than stating: “Like Defendant Adams, Defendant Williams’
         Alliance-issued laptop also contains email data[.]” Id. ¶ 42.

        Lanterman’s report provides no basis, whatsoever, for his assertion that
         Mr. Williams himself was responsible for any of this activity. Id. ¶¶ 41–
         43.

 5. That Mr. Williams copied 3,712 files onto a personal folder on his Alliance
    laptop to a USB drive on July 10, 2023. Id. ¶¶ 48–50.

        Lanterman states that “Windows records information sufficient to
         identify when USB drives are attached to a computer” and that
         “Microsoft Windows may also be configured to track the ‘accessed’
         time of files.” Id. ¶ 49. But again, he offers no description of how he
         found, accessed, or interpreted any such records to arrive at his
         conclusion. Id. ¶¶ 48–50.

        Lanterman’s report provides no basis, whatsoever, for his assertion that
         Mr. Williams himself was responsible for any of this activity. Id.

 6. That the USB drive produced by Mr. Williams is the same USB drive attached
    to his laptop on July 10, 2023, and the “vast majority” of the files on the USB
    drive match the files in the personal folder on Mr. William’s Alliance laptop.
    Id. ¶¶ 52–55.

        Lanterman asserts that the USB drive Williams produced had the same
         serial number “associated with the USB drive that was attached to
         Defendant Williams’ Alliance-issued laptop on July 10, 2023.” Id. ¶ 53.
         He does not explain how he located, identified, accessed, or compared
         these purported serial numbers. Id.

        Lanterman’s assertion that the “vast majority” of the files on the USB
         drive match the files in the personal folder on Mr. Williams’s Alliance
         laptop is apparently based on his “compar[ing] the hash values of the
         files on Defendant Williams’ Alliance issued laptop with the hash
         values of the files from the USB drive.” Id. ¶ 54. He does not explain
         how he located, identified, accessed, or compared these purported hash

                                       -7-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        21 of 40. PageID
                                                                   Page 15
                                                                         #: 3682
                                                                            of 34




             values. Id. He also does not disclose any comparison indicating which,
             if any, files were actually common to Williams’s laptop and USB drive;
             he simply asserts the “vast majority” were the same. Id.

      In short, Lanterman says nothing about his computer forensic methods, i.e.,

the process one would have to perform to arrive at Lanterman’s conclusions and

identify and analyze the data Lanterman claims to have reviewed. See Allapattah

Servs., Inc., 61 F. Supp. 2d at 1338. This failure to disclose any methods was not the

result of oversight and cannot be corrected in Lanterman’s testimony. To the

contrary, Lanterman apparently considers his methodology proprietary, and he

affirmatively refused to discuss his methods during his deposition, first with respect

to recovery of deleted emails, and then as to his entire report:




      ...



                                          -8-
Case:
Case 3:23-cv-22130-MCR-ZCB
      1:24-cv-01027-JPC Doc #: 106-4
                               Document
                                     Filed:
                                         15504/04/25
                                                Filed 03/14/25
                                                      22 of 40. PageID
                                                                 Page 16
                                                                       #: 3683
                                                                          of 34




    ...




                                      -9-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        23 of 40. PageID
                                                                   Page 17
                                                                         #: 3684
                                                                            of 34




Ex. 3 at 214:4–17; 215:5–15; 219:24–220:12 (emphasis added).

      Under Federal Rule of Civil Procedure 702 and the Daubert doctrine, an

expert’s reliable use of accepted methods is the sine qua non of admissibility. Unless

Lanterman discloses his methodology, there is no way to determine whether the data

and information he supposedly reviewed even corresponds to the activities he

describes in his opinions. Thus, Lanterman’s refusal to disclose his methods, and his

reliance instead on his ipse dixit conclusions, is fundamentally inadequate to get past

this Court’s gatekeeping function, and his testimony must be excluded as a matter of

law. See MidAmerica C2L Inc. v. Siemens Energy Inc., No. 20-11266, 2023 WL


                                         -10-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        24 of 40. PageID
                                                                   Page 18
                                                                         #: 3685
                                                                            of 34




2733512, at *9 (11th Cir. Mar. 31, 2023) (affirming trial court’s exclusion where the

expert provided only “his word and own ipse dixit” and noting that “the trial court’s

gatekeeping function requires more than simply taking the expert’s word for it”

(internal quotation marks omitted) (citation omitted)); Hughes v. Kia Motors Corp.,

766 F.3d 1317, 1129-30 (11th Cir. 2014) (affirming district court’s exclusion of

expert testimony where the expert claimed that “he reached his conclusion based on

the scientific method” but did not further explain “how he tested his hypothesis to

support his conclusions”); United States v. Frazier, 387 F.3d 1244, 1265 (11th Cir.

2004) (affirming district court’s exclusion of expert testimony where the district

court could not tell “whether [the expert’s] opinions had been subjected to peer

review or, even, the percentage of cases in which his opinion had been erroneous”

because the expert did not sufficiently identify the methodology supporting his

conclusions).

      Numerous other courts have reached the same result in similar circumstances.

For instance, in FedEx Ground Package System, Inc. v. Applications Int’l Corp., 695

F. Supp. 2d 216, 223–24 (W.D. Pa. 2010), the Court excluded the opinion of a

computer science expert seeking to offer testimony about similarities between two

computer software programs in an action for copyright and trade secrets

infringement. The expert opined that, based on his review, the allegedly infringing

program reproduced copyrighted records in the allegedly infringed program, and



                                        -11-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        25 of 40. PageID
                                                                   Page 19
                                                                         #: 3686
                                                                            of 34




“copied or otherwise used the data structures” in the allegedly infringed program.

Id. at 219. The Court held that the proffered opinion could not survive Daubert

because the witness “fail[ed] to set forth any reasoned methodology employed in

forming his opinions,” and it was not enough to simply provide conclusions about

his comparison. Id. at 223–24. The same is true here. Lanterman has disclosed that

he performed an analysis and arrived at conclusions, but offers no description of the

process he used to perform that analysis.

      Similarly, in United States v. Gardner, No. 2:10-CR-551-TC, 2012 WL

6680395, at *5 (D. Utah Dec. 21, 2012), the court excluded most opinions of a

purported forensics expert. In particular, the court excluded an opinion that anyone

who accessed a web browser on the defendant’s computer could access the

defendant’s email account, finding that the expert had not described any

methodology behind his opinion; the expert “provided no factual basis for such a

conclusion or any reason for the court to believe that . . . he can explain why he

reached this conclusion.” Id.

      Finally, Lanterman’s refusal to describe his purportedly proprietary methods

echoes Troudt v. Oracle Corp., 369 F. Supp. 3d 1134, 1139 (D. Colo. 2019). There,

the proffered expert on fiduciary duties offered an opinion that fees assessed in the

administration of a 401(k) plan were excessive. But he “failed to disclose [his]

process” and “claimed either that he did not recall specific facts or data supporting



                                        -12-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        26 of 40. PageID
                                                                   Page 20
                                                                         #: 3687
                                                                            of 34




his opinions . . . or that confidentiality agreements with [his former employer]

prevented him from making such disclosures.” Id. (emphasis added). The Court

therefore excluded his opinion for lacking a reliable methodology. See id.

      As a matter of law, Lanterman’s methodology-free opinion must be excluded.

II.   Lanterman Appears to Have Falsified His Qualifications, Repeatedly
      Perjured Himself in His Deposition, and Spoliated Evidence About His
      Background.

      In his expert declaration, Lanterman swears under penalty of perjury that he

“graduated from Upsala College with both a Bachelor of Science and a Master’s

degree in computer science.” Lanterman Decl. ¶ 6. The resume attached to his

declaration asserts the same. Lanterman Decl. Ex. A. The first hint that he may be

lying is that Lanterman’s declaration and resume do not disclose the dates on which

he purportedly received those degrees, but in his deposition he stated

                                             . Ex. 3 at 28:20–29:2. Yet in sworn

submissions in other matters, Lanterman has asserted he received his degrees in 1988

and 1990. See, e.g., Affidavit of Mark Lanterman at 10, Zuniga Escamilla v. SMS

Holdings Corp., No. 9-cv-02120-ADM-JSM (D. Minn. Aug. 24, 2010), Dkt. 175.

At the risk of stating the obvious, one should know when they graduated from

college. Either way, none of this is true, and Lanterman appears to have perjured

himself in his deposition, perpetuating lies about his credentials.




                                         -13-
 Case:
 Case 3:23-cv-22130-MCR-ZCB
       1:24-cv-01027-JPC Doc #: 106-4
                                Document
                                      Filed:
                                          15504/04/25
                                                 Filed 03/14/25
                                                       27 of 40. PageID
                                                                  Page 21
                                                                        #: 3688
                                                                           of 34




      A.    Lanterman Admits He Has No Evidence that He Attended Upsala
            College.

      To begin with, there is no evidence beyond Lanterman’s say-so that he even

attended Upsala College,                                :




Ex. 3 at 39:23–25; 41:20–42:3; 47:18–24.

      Lanterman’s dearth of evidence cannot be chalked up to lack of notice. Far in

advance of Lanterman’s deposition Laundrylux served discovery requests for

documents sufficient to show that Lanterman actually earned his purported degrees

                                       -14-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        28 of 40. PageID
                                                                   Page 22
                                                                         #: 3689
                                                                            of 34




from Upsala College. Ex. 4 at 2. Alliance responded that Lanterman would produce

such documents in his possession. Id. But when Alliance notified Lanterman of the

requests, he apparently told Alliance that such evidence “                           ,”

and he testified in his deposition that he “

                         . Ex. 3 at 54:22–55:8. In his deposition, Lanterman claimed

that

        . Id. at 33:1-13. When asked whether, in order to prove his claimed

credentials, he would make further efforts to locate his purported transcripts or other

evidence, Lanterman said “

                           ” Id. at 64:21–65:2.

       B.    Overwhelming Evidence Demonstrates Lanterman Did Not
             Attend or Graduate from Upsala College.

       Worse than Lanterman’s lack of evidence of attending Upsala College, there

is overwhelming evidence that he did not attend Upsala College or earn any degrees

there. Upsala College was located in East Orange, New Jersey before permanently

closing in 1995. Ex 5. The closing followed years of plummeting enrollment,

snowballing debt, and the school’s loss of accreditation. See id.; see also Ex. 6. As

a result of the closure, Upsala’s student transcripts are now preserved by the Office

of the Registrar at New Jersey’s Felician University. Ex. 7.

       When counsel for Laundrylux contacted the Felician University registrar’s

office to inquire about Lanterman’s purported transcripts, the office reported it had


                                         -15-
    Case:
    Case 3:23-cv-22130-MCR-ZCB
          1:24-cv-01027-JPC Doc #: 106-4
                                   Document
                                         Filed:
                                             15504/04/25
                                                    Filed 03/14/25
                                                          29 of 40. PageID
                                                                     Page 23
                                                                           #: 3690
                                                                              of 34




no transcripts for Lanterman: “After multiple attempts to find this file, we have not

been able to locate this students [sic] transcript.” Ex. 8.3

        In his deposition, Lanterman swore under oath that

                                                                                        .

Ex. 3 at 29:17–31:4. That there are no transcripts memorializing his attendance

overwhelmingly demonstrates that he did not attend, or graduate from, Upsala

College. Yet that is only the tip of the iceberg.

        Counsel for Laundrylux examined Upsala College yearbooks for the academic

years ending in 1987, 1988, 1989, and 1990, all maintained at the East Orange Public

Library. Lanterman is not listed among the graduating class in any of the four years.

Exs. 10–13. Indeed, his name does not appear at all in any of the four yearbooks.

Id.

        That’s not all. Counsel for Laundrylux also examined the Upsala College

commencement programs for the academic years ending in 1987, 1988, 1989, and

1990, all maintained at the Swenson Swedish Immigration Research Center at

Augustana College in Rock Island, Illinois. Exs. 14–17. The commencement

programs list each year’s graduates by degree type, e.g., Bachelor of Arts, Bachelor

of Science, Master of Science. Id. Lanterman is not listed among the graduates in



3
  Lanterman testified                                , so there is no possibility the
transcripts are maintained under a different name. Ex. 3 at 7:19–25.

                                          -16-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        30 of 40. PageID
                                                                   Page 24
                                                                         #: 3691
                                                                            of 34




any of the years. Id. The evidence is unambiguous: Mark Lanterman never earned

any degrees from Upsala College but continues to assert falsely—under oath—that

he did.

       And although Lanterman swore under oath that

                                                                             , there is

irrefutable evidence—and Lanterman’s own sworn testimony in another matter—

that he was actually a student at the University of Minnesota in the 1985–86

academic year. Ex. 18 at 4; Ex. 19 at 8:5–15.

       C.    Lanterman Appears to Have Repeatedly Perjured Himself, Lying
             Under Oath About Graduating from Upsala College.

       In his deposition, after being confronted with the fact that Felician University

had no Upsala transcripts for him, Lanterman emphatically and repeatedly insisted

that                                               . See, e.g., Ex. 3 at 42:12–13 (“

                                                                  ”). Yet when asked

if he could name a single classmate with whom he attended Upsala in his alleged six

years as a full-time student, Lanterman                              —a conspicuous

failing Lanterman incredibly                                                   . Id. at

269:17–20.

       Then, when asked to give the name of those (                                   )

             , Lanterman outright refused. Id. at 269:21–270:19. And when asked to




                                          -17-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        31 of 40. PageID
                                                                   Page 25
                                                                         #: 3692
                                                                            of 34




give just the address at which he purportedly lived while attending Upsala College,

he again outright refused:




                                       -18-
    Case:
    Case 3:23-cv-22130-MCR-ZCB
          1:24-cv-01027-JPC Doc #: 106-4
                                   Document
                                         Filed:
                                             15504/04/25
                                                    Filed 03/14/25
                                                          32 of 40. PageID
                                                                     Page 26
                                                                           #: 3693
                                                                              of 34




Id. at 269:17–270:20; see also id. at 33:17–34:17 (

                                                         ).

        In other words, when asked to give simple biographical information that might

corroborate his claimed attendance at Upsala College, Lanterman was unable and

unwilling to do so—because there is none. Again, anyone should be able to name at

least one classmate with whom they studied at a college they purportedly attended

for six years.

        The only reasonable conclusion is that Lanterman’s sworn statements about

attending and graduating from Upsala College were perjured. See United States v.

Dunnigan, 507 U.S. 87, 94 (1993) (perjury occurs when a witness “gives false

testimony concerning a material matter with the willful intent to provide false

testimony, rather than as a result of confusion, mistake, or faulty memory”).4


4
  Importantly, his purported college degrees are not the only thing Lanterman has
lied about under oath or deceptively sought to cover up through further false
testimony. For instance, in a fee dispute in Afremov v. Lanterman, the court found
that Lanterman’s testimony was not credible, and that he had given false testimony
in the underlying federal criminal case. Lanterman v. Afremov, No. 27-CV-12-
22089, 2014 WL 3579827, at *9-10 (Minn. Dist. Ct. July 17, 2014) (noting that
another witness “credibly testified that Lanterman’s reputation for integrity is
highly questionable and Lanterman’s reputation among law firms raise serious
questions about his billing practices” and concluding that “billing for computer run
time is a fiction that Lanterman used to avoid the problems created by his false


                                         -19-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        33 of 40. PageID
                                                                   Page 27
                                                                         #: 3694
                                                                            of 34




      D.     Lanterman Appears to Be Spoliating Evidence of His
             Background.

      As if Lanterman’s perjured testimony were not bad enough, there’s a

Hollywood twist illustrating the extraordinary lengths to which Lanterman will go

to obfuscate his true background—and fabricate a new one.

      Although it is obvious Lanterman did not attend Upsala College, it is not clear

where he actually was during the     years he supposedly attended (               or

1990). Lanterman testified that

                                                             —a position curiously

omitted from his resume. See Lanterman Decl. Ex. A. To further investigate

Lanterman’s qualifications and attempt to shed light on his whereabouts and

activities at the time he claims he attended Upsala, Laundrylux’ s counsel reached

out to the Springfield Township Police Department to inquire about Lanterman’s

employment records. See Watnick Decl. ¶ 24. The Police Department responded

with a story that would be almost impossible to believe if it was not corroborated by

Lanterman’s own email communications.



testimony in federal court that he had 11 people working full time 24 hours a day
in shifts on the Afremov project for a total of 1,500 human work hours. To explain
away the fact that there were not enough people working on the project to come
anywhere close to account for an $800,000 bill, Lanterman later unbelievably
testified that the hours were both human and computer run time.” (emphasis
added)). The decision in Afremov was later reversed on other grounds, but the
findings about Lanterman’s credibility were not disturbed. Lanterman v. Afremov,
No. A15-0729, 2016 WL 1551602, at *1 (Minn. Ct. App. Apr. 18, 2016).

                                        -20-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        34 of 40. PageID
                                                                   Page 28
                                                                         #: 3695
                                                                            of 34




      Lanterman was deposed on February 11, from his home in Minnesota. Ex. 3

at 9:19–10:2. On February 12, out of the blue, Lanterman emailed the Springfield

Township Police Department, writing: “I have a quick question regarding my

personnel jacket [i.e., file]. I assume it has likely been destroyed per the city’s

document retention policy. Would you mind confirming whether that is the case?”

Ex. 20 at 3. The Chief of Police responded: “[W]e still have your personnel file, in

fact, we just made our list of files not to retain, but we have always maintained files

of employees who retired/resigned.” Id. at 2.

      Lanterman wrote back on February 13, but he did not have any questions

about his file, or whether it reflected his purported attendance at Upsala College.

Instead, he asked to see it in person: “Would it be possible for me to stop by the

station tomorrow to see it?” Id. The Chief agreed to meet Lanterman on February

14. Id. at 1–2.

      On February 14, just three days after the deposition at which he was

challenged about his apparently falsified credentials, Lanterman—who lives in

Minnesota—walked into the suburban Philadelphia police department, asking to see

his old personnel file, and telling a tale of woe: that he had been diagnosed with a

grave heart condition and been told to “get his affairs in order,” and that he wanted

his old police personnel file to show his family about his early career. Watnick Decl.




                                         -21-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        35 of 40. PageID
                                                                   Page 29
                                                                         #: 3696
                                                                            of 34




¶ 24. Lanterman said he needed to catch a flight back to Minnesota, then left the

department with his file, promising to return it. Id.

      To date, despite requests from the Chief of Police, Lanterman has not returned

his personnel file—thereby preventing counsel from corroborating Lanterman’s

claims about when he worked in the Springfield Township Police Department.

Watnick Decl. ¶ 25 & Ex. 21. It is shocking that an expert from Minnesota would

travel to suburban Philadelphia and abscond with his decades-old personnel file to

obscure his background. That appears to be the worst and most egregious form of

spoliation, and the deception alone is reason enough to exclude Lanterman and

consider sanctions. Watson v. Edelen, 76 F. Supp. 3d 1332, 1343 (N.D. Fla. 2015)

(“[S]poliation is defined as the destruction of evidence or the significant and

meaningful alteration of a document or instrument.” (citation omitted)).

      E.     Lanterman Should Be Excluded for Perjury, Spoliation, and
             Obstructive Conduct.

      The Court has inherent power to remedy this perjury, spoliation, and

obstructive conduct by forbidding Lanterman from offering testimony in this matter.

See Chambers v. NASCO, Inc., 501 U.S. 32, 45–46 (1991) (a court has inherent

power “to fashion an appropriate sanction for conduct which abuses the judicial

process”). “The inherent powers doctrine is most often invoked where a party

commits perjury or destroys or doctors evidence,” Qantum Commc’ns. Corp. v. Star

Broad., Inc., 473 F. Supp. 2d 1249, 1269 (S.D. Fla. 2007), and federal courts often


                                          -22-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        36 of 40. PageID
                                                                   Page 30
                                                                         #: 3697
                                                                            of 34




use their inherent power to exclude expert witnesses for less abusive conduct, see,

e.g., Eastman Kodak Co. v. Agfa-Gevaert N.V., No. 02-CV-6564, 2003 WL

23101783, at *1 (W.D.N.Y. Dec. 4, 2003) (exercising inherent power to exclude

expert witness from testifying against former employer); Space Sys./Loral v. Martin

Marietta Corp., No. CIV. 95-20122 SW, 1995 WL 686369, at *2 (N.D. Cal. Nov.

15, 1995) (same).

      Such relief is particularly appropriate here, as Lanterman’s perjury not only

abuses the judicial processes and obfuscates his purported expert qualifications, but

accentuates Lanterman’s failure to describe what methods he used in arriving at his

opinions. See supra Section I.

      Lanterman refused to testify in this matter about his “methods or techniques

or software,” which he claimed to be proprietary. See supra Section I. Yet a 2006

Minneapolis Star Tribune profile that quotes Lanterman extensively reports that

“[t]he software that Lanterman uses as an essential element of his electronic

detective work is an enhanced version of a search program he wrote for one of his

college classes as a computer science major.” Ex. 9 at 2 (emphasis added). It

continues: “The software, which Lanterman views as more comprehensive than

commercially available programs, not only allows him to recover deleted

documents, but also to track user activity on a specific time line.” Id.




                                         -23-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        37 of 40. PageID
                                                                   Page 31
                                                                         #: 3698
                                                                            of 34




      Thus, Lanterman’s secret methods apparently involve bespoke software that

he claims to have developed in college, yet every indication is that he is lying about

his college attendance. As a result, Lanterman’s perjury materially infects both his

purported qualifications and his methods, meaning he cannot satisfy either of the

first two criteria of expert admissibility. See Harcros Chems., Inc., 158 F.3d at 562.

      Lanterman’s spoliation of evidence reinforces this result. “Sanctions for

spoliation of evidence include . . . exclusion of expert testimony,” Oil Equip. Co. v.

Mod. Welding Co., 661 F. App’x 646, 652 (11th Cir. 2016) (unpublished); see also

Qantum Commc’ns. Corp., 473 F. Supp. 2d at 1269 (court has inherent power to

punish destruction of evidence), and courts in this Circuit often issue such a penalty

when expert witnesses fail to preserve relevant evidence, see, e.g., Kraft Reinsurance

Ireland, Ltd. v. Pallets Acquisitions, LLC, 843 F. Supp. 2d 1318, 1320 (N.D. Ga.

2011); Nat’l Grange Mut. Ins. Co. v. Hearth & Home, Inc., No. 2:06-CV-54-WCO,

2006 WL 5157694, at *7 (N.D. Ga. Dec. 19, 2006).

      Here, such a sanction is particularly warranted, as Lanterman appears to have

embarked on an extraordinary, unprecedented, and bad-faith campaign to suppress

harmful information material to his purported qualifications as an expert computer

forensics examiner and to his perjured testimony about those qualifications. See

AZ55S, LLC v. Flinsco.com, LLC, No. 22-CV-61658, 2023 WL 4564631, at *2 (S.D.

Fla. June 30, 2023) (in considering spoliation sanctions, the Court should consider



                                         -24-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        38 of 40. PageID
                                                                   Page 32
                                                                         #: 3699
                                                                            of 34




“whether the spoliating party acted in bad faith; and . . . the potential for abuse if

sanctions are not imposed”), report and recommendation adopted, No. 22-61658-

CV, 2023 WL 4561628 (S.D. Fla. July 17, 2023).

                                  CONCLUSION

      Rare is the case—perhaps once in a lifetime—where an expert not only lies

about his background but goes to such lengths to cover up the lies and destroy

evidence along the way. Of course, under Rule 702, the Court must strike Mark

Lanterman’s declarations and exclude him from offering any opinions in this matter,

including in connection with concurrent summary judgment briefing.

      And under the Court’s inherent authority, it should also consider sanctions

against Alliance for Lanterman’s refusal to engage in discovery, and for his

affirmative steps to frustrate discovery by suppressing and possibly destroying

evidence.




                                         -25-
Case:
Case 3:23-cv-22130-MCR-ZCB
      1:24-cv-01027-JPC Doc #: 106-4
                               Document
                                     Filed:
                                         15504/04/25
                                                Filed 03/14/25
                                                      39 of 40. PageID
                                                                 Page 33
                                                                       #: 3700
                                                                          of 34




Dated: March 14, 2025                 /s/ David A. Perez
                                      David A. Perez (admitted pro hac vice)
                                      Evelyn Y. Pang (admitted pro hac vice)
                                      Shireen Lankarani (admitted pro hac vice)
                                      DPerez@perkinscoie.com
                                      EPang@perkinscoie.com
                                      SLankarani@perkinscoie.com
                                      PERKINS COIE LLP
                                      1201 Third Avenue, Suite 4900
                                      Seattle, Washington 98101-3099
                                      Telephone: +1.206.359.8000
                                      Facsimile: +1.206.359.9000

                                      /s/ Beth-Ann E. Krimsky
                                      Beth-Ann E. Krimsky
                                      Florida Bar No. 968412
                                      GREENSPOON MARDER LLP
                                      200 East Broward Blvd., Suite 1800
                                      Fort Lauderdale, Florida 33301
                                      Tel: (954) 527-2427
                                      Fax: (954) 333-4027

                                      Attorneys for Defendant Autarkic
                                      Holdings, Inc. d/b/a Laundrylux

                                      /s/ Jura C. Zibas
                                      Jura C. Zibas
                                      WILSON ELSER MOSKOWITZ
                                      EDELMAN & DICKER LLP
                                      2063 Main Street, Suite 100
                                      Sarasota, FL 34237
                                      Telephone: (941.866.8561
                                      Facsimile: 941.210.5979
                                      Email: jura.zibas@wilsonelser.com

                                      Attorneys for Trudy Adams and John
                                      “Clay” Williams



                                     -26-
  Case:
  Case 3:23-cv-22130-MCR-ZCB
        1:24-cv-01027-JPC Doc #: 106-4
                                 Document
                                       Filed:
                                           15504/04/25
                                                  Filed 03/14/25
                                                        40 of 40. PageID
                                                                   Page 34
                                                                         #: 3701
                                                                            of 34




                      WORD COUNT CERTIFICATION

      Defendants’ Memorandum of Law contains 5925 words (including the text,

headings, footnotes, and quotations, but excluding the table of contents, table of

authorities, case caption, signature block, and certificate of service) and therefore

complies with the 8,000-word limit in Local Rule 7.1(F).



 Dated: March 14, 2025                    /s/ David A. Perez
                                          David A. Perez (admitted pro hac vice)
                                          DPerez@perkinscoie.com
                                          PERKINS COIE LLP
                                          1201 Third Avenue, Suite 4900
                                          Seattle, Washington 98101-3099
                                          Telephone: +1.206.359.8000
                                          Facsimile: +1.206.359.9000

                                          Attorneys for Defendant Autarkic
                                          Holdings, Inc. d/b/a Laundrylux




                                        -27-
